EXHIBIT 5
                                          Tuesday, September 17, 2024 at 00:43:32 Eastern Daylight Time

Subject: RE: Combs Travel
Date:    Monday, June 10, 2024 at 10:48:20 PM Eastern Daylight Time
From:    Steiner, Mitzi (USANYS)
To:      Teny Geragos, Johnson, Emily (USANYS) 2, Smyser, Madison (USANYS), Foster, Meredith (USANYS)
CC:      Marc Agniﬁlo


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Received, thanks Teny.

From: Teny Geragos <teny@agilawgroup.com>
Sent: Monday, June 10, 2024 10:35 PM
To: Johnson, Emily (USANYS) 2 <EJohnson2@usa.doj.gov>; Steiner, Mitzi (USANYS)
<MSteiner@usa.doj.gov>; Smyser, Madison (USANYS) <MSmyser@usa.doj.gov>; Foster, Meredith
(USANYS) <MFoster@usa.doj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: [EXTERNAL] Re: Combs Travel

Good evening – Mr. Combs departed OPF at 10:24pm EDT and is expected to land at VNY at
12:17am PDT.

Teny R. Geragos
Agniﬁlo Intrater LLP
445 Park Avenue, 7th Fl.
New York, NY 10022
o: (646) 205 - 4350
c: (213) 440 - 4401
teny@agilawgroup.com
www.agilawgroup.com

*admi`ed in NY & CA

From: Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>
Date: Sunday, June 9, 2024 at 8:15 PM
To: Teny Geragos <teny@agilawgroup.com>, Steiner, Mitzi (USANYS)
<Mitzi.Steiner@usdoj.gov>, Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>,
Foster, Meredith (USANYS) <Meredith.Foster@usdoj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: Re: Combs Travel

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open attachments unless you recognize the sender and know the content is safe.
Thanks for letting us know.

                                                                                                          1 of 3
Emily A. Johnson
Assistant United States Attorney
United States Attorney’s O_ice
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
212.637.2409
emily.johnson@usdoj.gov

From: Teny Geragos <teny@agilawgroup.com>
Sent: Sunday, June 9, 2024 7:54:30 PM
To: Johnson, Emily (USANYS) 2 <EJohnson2@usa.doj.gov>; Steiner, Mitzi (USANYS)
<MSteiner@usa.doj.gov>; Smyser, Madison (USANYS) <MSmyser@usa.doj.gov>; Foster, Meredith
(USANYS) <MFoster@usa.doj.gov>
Cc: Marc Agniﬁlo <marc@agilawgroup.com>
Subject: [EXTERNAL] Combs Travel

Dear all –

Mr. Combs will be departing from Miami at 6pm tomorrow on his plane for Los Angeles.
Tuesday, he and his family will depart on their road trip. They will go to Sedona, the Grand
Canyon, Lake Powell, Zion, and Death Valley. We will be in touch with his flight information back
to Miami. We hope you all had a nice weekend.

Best,
Teny

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